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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    PECOS DIVISION

 JUDD FOUNDATION,                 §
                                  §
     Plaintiff,                   §
                                  §
v.                                §
                                  §      Case No. 4:22-cv-00027-DC-DF
KUKJE GALLERY, INC. s/h/a KUKJE   §
GALLERY, and                      §
TINA KIM GALLERY, LLC s/h/a TINA  §
KIM GALLERY,                      §
                                  §
     Defendants.                  §
                                  §
PLAINTIFF JUDD FOUNDATION’S AGREED MOTION TO EXTEND PLAINTIFF’S
DEADLINE TO RESPOND TO DEFENDANT TINA KIM GALLERY, LLC’S MOTION
             TO DISMISS FOR LACK OF PERSONAL JURISDICTION

       Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), Plaintiff JUDD

FOUNDATION (“Judd”) files this Agreed Motion to Extend Plaintiff’s Deadline to

Respond to Defendant TINA KIM GALLERY, LLC’S Motion to Dismiss for Lack of

Personal Jurisdiction:

                                           I.

1.     Judd respectfully moves the Court to extend its time to answer Tina Kim Gallery,

LLC’s (“Tina Kim”) Motion to Dismiss asserted pursuant to Federal Rule of Civil

Procedure 12(b)(2). Tina Kim’s Motion was filed August 11, 2022. Def. Tina Kim Gallery,

LLC’s Mot. to Dismiss for Lack of Personal Jurisdiction, ECF No. 4. Per Western District

of Texas Local Rule CV-7(d)(2), Judd’s response is due August 25, 2022.

2.     Lead counsel for Judd, Christopher Robinson of Rottenberg, Lipman, Rich, P.C., is

currently out of town on vacation. Mr. Robinson therefore seeks a two-week extension of


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the deadline to file Judd’s response. The new deadline under the proposed extension would

be Thursday, September 8, 2022.

3.     Judd filed this Motion as soon as it became aware of the need for additional time

and before the deadline of August 25, 2022.

                                             II.

4.     A court may grant a request to extend time for good cause. Fed. R. Civ. P.

6(b)(1)(A); Rachel v. Troutt, 820 F.3d 390, 394–95 (10th Cir. 2016). Here, Judd asks the

Court to extend the deadline to respond to Tina Kim’s Motion to Dismiss by two weeks

until September 8, 2022, as lead counsel is out of the office. Judd’s request is for good

cause and is not intended to delay these proceedings. Tina Kim is in agreement with the

proposed extension and will not be prejudiced.

       For the foregoing reasons, Plaintiff JUDD FOUNDATION respectfully prays the

Court extend its deadline to respond to Defendant TINA KIM, LLC’S Motion to Dismiss

to September 8, 2022, and award any further relief to which it may be justly entitled, at law

or in equity.

                          CERTIFICATE OF CONFERENCE

       I certify that on August 17, 2022, I conferred with Richard Lerner, Esq. and he

does not oppose the Motion.


                                                             CHRISTOPHER ROBINSON




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                                              Respectfully submitted,

                                              KEMP SMITH LLP
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                                              (915) 546-5360 (FAX)


                                              By: /s/ Ken Slavin
                                                 Ken Slavin
                                                 State Bar No. 18496100
                                                 Attorneys for Plaintiff
                                                 Judd Foundation



                               CERTIFICATE OF SERVICE

        Undersigned hereby certifies that a true and correct copy of the foregoing document has
been filed via the court’s ECF system and sent via e-mail to all counsel of record, this 19th day of
August, 2022.



                                                                                    /s/ Ken Slavin
                                                                                   KEN SLAVIN




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